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                              UNITEI)STATESDISTRICT COURT
                              SO U THERN D ISTRICT OF FLO RID A
                          CASE NO.18-80166-CR-M 1DDLEBROOKS(s)
  UN ITED STA TES O F AM ERICA ,

  V S.

  N ICO LA S W UK O SON ,

         D efendant.
                                         /

                               FIN AL O R DER O F FOR FEITU R E

          TH IS M ATTER cam e before the Courton motion of the United States of America

   (çcunited States'')fortheentryofatsnalorderofforfeiture.TheCourthaving reviewedthefile
   and the pleadings in this m atterand being otherwise fully advised in the prem ises,m akes the

  follow iqg findings:

          1.     On M arch 28,2019,the Courtentered aprelim inary orderofforfeitlzre forfeiting

  theinterestofthedefendant,NicholasW ukoson,inablackHPlaptop,serialnumber5CD5133417Q
   and akilverHP laptop,serialnumber5CD6510165 (collectively,theSçlaptops'')ptlrsuantto 18
  U.S.C.j2253(DE 93).
                 Publication hasbeen duly m ade in this matter. The time forfiling any petitions

  hasexpired.

                 No petitioners have come forward within thetime provided forin 21 U.S.C.â
   853(n).
          Accordingly,itishereby ORDERED AND ADJUDGED thAt:

          1.     The United StatesofA m erica'sm otion forthe entry ofa fnalorderofforfeim re

          (D.E.126)isGRANTED.
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                 Pursuantto 18U.S.C.j2253,thelaptopsarehereby forfeitedtotheUnitedStates.
                 The Courttsndsthatthe United Stateshas cleartitle to the property which hasbeen

   forfeited totheUnited Statespursuantto the orderofforfeiture and may warrantgood titleto any

   subsequentplzrchaserortrahsfereeinaccordancewith21U.S.C.j853(n)(7).
                 The FederalBureau ofInvestigation oran# otherduly aùthorized law enforcem ent
   agency isdirectedto disposeoftheforfeited property in accordancewith law.

          DONEAND ORDEREDinChambersatWestPalm Beach,Florida,this X& dayof
   July,2019.




                                                   . D ON ALD M .M IDD LEBRO O K S
                                             U N ITED STA TES D ISTM CT JUD G E

   CC'    CounselofR ecord




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